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Melinda Michelle Douglas
                             UNITED STATES DISTRICT COURT

                     DISTRICT OF OREGON – PORTLAND DIVISION


                                               CASE NO. 3:20-cv-00460-JR
Melinda Michelle Douglas,

                      Plaintiff,              VOLUNTARY DISMISSAL OF DOES 1
                                              THROUGH 100 INCLUSIVE, PURSUANT TO
       v.                                     FEDERAL RULE OF CIVL PROCEDURE 41

Capital One Bank (USA), National
Association; Kohl’s Inc.; and DOES 1
through 100 inclusive,

               Defendants.
TO THE COURT, CLERK OF COURT, AND ALL PARTIES:

                                   NOTICE OF DISMISSAL
       Melinda Michelle Douglas, the Plaintiff herein, hereby dismisses DOES 1 through 100
inclusive, pursuant to FRCP 41(a)(1)(A)(i).
                                                      Respectfully submitted,



Dated: September 21, 2021                     By:     /s/ Kyle W. Schumacher____
                                                      Kyle W. Schumacher, Esq.
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                                                      Attorney for Plaintiff



 VOLUNTARY DISMISSAL OF DOES 1 THROUGH 100 INCLUSIVE, PURSUANT TO FEDERAL RULE OF CIVIL
                                    PROCEDURE 41

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